        Case 4:21-cr-00101-CLR Document 38 Filed 10/28/21 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITED STATES OF AMERICA                  )
                                          )
v.                                        ) CASE NO. 4:21-cr-101
                                          )
CONNIE DEAL                               )

                            ORDER OF DISMISSAL

      Currently before the Court is the Government’s Motion for Dismissal of

Information. In its motion, the Government requests pursuant to Federal Rule of

Criminal Procedure 48(a) that the Court dismiss without prejudice the Information

in this case. After careful consideration, the Government’s motion is GRANTED and

the Information in this case is DISMISSED WITHOUT PREJUDICE.

      So ordered, this WK day of 2FWREHU 2021.




                                _______________________________________
                                _____________
                                           _ ____________
                                                       _ ______
                                                             _ ___
                                CHRISTOPHER
                                CHRIR STOP  H R L. RAY
                                          PHE
                                UNITED STATES    S MAGISTRATE
                                                   MAGISTRA ATE JUDGE
                                                                 J
                                SOUTHERN DISTRICT OF GEORGIA
